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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------x

 UNITED STATES OF AMERICA,

                  -against-                                Case No. 1:20-cr-00008 (MKB)



 STEVEN NERAYOFF,
 --------------------------------------------------x




                       MEMORANDUM OF LAW IN SUPPORT OF
                DEFENDANT STEVEN NERAYOFF’S PRETRIAL MOTION
              TO DISMISS THE INDICTMENT, DISCLOSE PORTIONS OF THE
                GRAND JURY PROCEEDINGS AND COMPEL DISCOVERY
                             FROM THE GOVERNMENT




                                                                 Michael A. Scotto
                                                                 1225 Franklin Ave, Suite 325
                                                                 Garden City, NY 11530
                                                                 (516) 506-2302
                                                                 mascottoesq@gmail.com




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        Defendant Steven Nerayoff (“Mr. Nerayoff”) respectfully submits this Memorandum of

 Law in support of his motions to: (i) dismiss the indictment against him with prejudice as the

 alleged extortion charges are entirely based upon falsehoods advanced by the alleged victims and

 the government knew, or should have known, that the evidence upon which the indictment was

 based was perjurious; (ii) disclose portions of the Grand Jury minutes that relate to Mr. Nerayoff’s

 dealings with the alleged victims which falsely support the indictment; and (iii) compel the

 government to provide further discovery under Rule 16 and this Court’s December 10, 2020 5(f)

 order in response to Mr. Nerayoff’s July 18, 2022 and January 23, 2023 requests.

                                 PRELIMINARY STATEMENT

        It is undisputed that an indictment cannot rest on materially false evidence, but in the case

 before the Court, falsehoods that are evident from the undisputed video recordings and other

 evidence submitted in support of this motion, most of which originate from government’s own

 discovery, clearly establish that the indictment of Mr. Nerayoff is entirely based upon materially

 false information presented to the Grand Jury regarding the parties’ relationship, their business

 negotiations and Mr. Nerayoff’s absolute entitlement to the property he is alleged to have extorted

 and that the government knew, or should have known, of these falsehoods.

        Defendant respectfully requests that should the Court decline to dismiss the indictment

 against Mr. Nerayoff with prejudice, the Court order the release of grand jury testimony relating

 to evidence presented relating to the alleged extortion and to compel the government to produce

 the information sought by Mr. Nerayoff and to allow him to renew and supplement the motion to

 dismiss the indictment based on a review of the grand jury testimony and information sought and

 to bring any additional applicable motions.




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                             SUMMARY OF RELEVANT FACTS

 Mr. Nerayoff is engaged to assist Company 1 with an ICO

        The Declaration of Michael Scott (“Declaration”) in support of Mr. Nerayoff’s motion

 establishes that his dealings with John Doe, Jane Doe and Company 1 were entirely lawful. (See,

 accompanying Declaration at ¶¶ 17-33, and 47-78, hereinafter “Decl. at ¶__”). In particular, it is

 beyond dispute that the July 22, 2017 agreement was renegotiated, not because Mr. Nerayoff

 wanted to extort additional consideration as the government has alleged, but because the parties

 had entered into it based on a mutual misunderstanding of its terms (Decl. at ¶¶17-18 and Exhibits

 8, 9 and 10). It is also beyond dispute that the parties new November 7, 2017 agreement was the

 result of a cordial and friendly meeting run by Jane Doe and represented the parties’ meeting of

 the minds as reflected in the November 6, 2017 Skype video recording and Jane Doe’s email of

 the new terms after the meeting concluded. (Decl. at ¶¶ 19-31 and Exhibits 11-12, 15-22). This

 agreement was memorialized in the “Services Payment Agreement” between the parties (Exhibit

 21). As the Skype video shows, the re-negotiations the parties engaged in on November 6, 2017

 were cordial, cooperative and the parties agreement was not the result of threats of any kind

 (Exhibits 18-19).

        It is additionally beyond dispute that after the crowdsale concluded on December 7, 2017,

 that Company 1 refused to give Mr. Nerayoff any of the 1.35 billion tokens it owed him, but rather

 Company 1, as directed by John Doe and Jane Doe, held those tokens and the additional

 900,000,000 tokens due Mr. Nerayoff in Company 1’s public wallet. (Decl. at ¶32, Exhibit 29).

 It also beyond dispute that Mr. Nerayoff made repeated requests for Company 1 to provide him

 the 1.35 billion tokens due to him under the November 6, 2017 agreement, as well as the “loyalty

 reward tokens” Mr. Nerayoff was entitled to, but John Doe and Jane Doe refused to abide by the



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 terms of the November 6, 2017 agreement and continue to do so to date. It is also beyond dispute

 that on March 20, 2018, after continuing to refuse to provide any of Mr. Nerayoff’s tokens, John

 Doe messaged Mr. Nerayoff and suggested that Company 1 might be able to provide Mr. Nerayoff

 with a ‘loan’ in order to give him something of value for the tokens that Company 1 refused to

 release to him (Decl. at ¶¶47, 50-52, 55, and 57 and Exhibit 29).

        It is beyond dispute that on the evening of March 27 into the early morning hours of March

 28, during an extended conference call between Mr. Nerayoff, Jane Doe, John Doe and Hlady, Mr.

 Nerayoff told Company 1 that he would sue Company 1 for breach of contract if they wouldn’t

 give them his tokens, but ultimately he agreed to accept the 10,000 Ether ‘loan’ until such time as

 they could issue him his tokens (Decl. at ¶¶ 57-58, 60, Exhibits 33 and 34). It is also beyond

 dispute that Company 1 did provide Mr. Nerayoff with the 10,000 Ether ‘loan,’ which was secured

 by 70,000,000 out of the over 2,350,000,000 tokens owed to him, as a result of the “threat” to

 commence a lawsuit, a lawsuit that Nerayoff engaged a firm to draft in the spring of 2018 (Decl.

 at ¶55, nt. 57), but also because Company 1 was able to extract harsh terms that Mr. Nerayoff

 had to accept-in order to receive only a small fraction of the value of his holdings: Mr. Nerayoff

 was required to waive 350 million loyalty program tokens he was due, thus Company 1 made

 approximately $10 million as a result of the surrender of Mr. Nerayoff’s rights to those 350 million

 tokens (Decl. at ¶¶ 61-63)

        Finally, as the Company 1 documents used as exhibits in support of Mr. Nerayoff’s actual

 innocence of the charges were provided by Company 1 sometime in February of 2019– a full seven

 months before S/A Anderson obtained a warrant to arrest Mr. Nerayoff–it is clear that the

 government possessed evidence which showed that November 7, 2017 agreement was not entered

 into as a result of any coercion, but rather it was the product of a mutually agreed upon, entirely



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 voluntarily renegotiation and that all Mr. Nerayoff’s dealings with Company 1 and its executives

 were entirely lawful.

 The Grand Jury Proceedings

            Mr. Nerayoff is charged in a four-count indictment with, Conspiracy to commit Extortion

 under the Hobbs Act (count 1), Hobbs Act Extortions (count 2 and count 3) and Conspiracy to

 Transmit Interstate Communications with Intent to Extort (count 4).

            While we are not in possession of the transcript of the grand jury proceedings, given the

 requirement that the grand jury hear evidence of those actual threats and the wrongfulness of Mr.

 Nerayoff’s demands, logic dictates that we must conclude that the government did indeed present

 evidence to the grand jury that Mr. Nerayoff had no claim of right to obtain property in connection

 with the entirety of his dealings with Company 1 and that he obtained such property through

 wrongful threats as the government alleged in the complaint, press release 1 and indictment. 2




 1
     See, https://www.justice.gov/usao-edny/pr/two-arrested-extortion-startup-cryptocurrency-company
 2
   To act with “intent to extort” means to act with the intent to obtain property from another, with the victim’s consent,
 but where that consent was “induced by wrongful use of actual or threatened force, violence, or fear . . . .” 18 U.S.C.
 § 1951(b)(2). While, there is absolutely no credible evidence that Mr. Nerayoff authored or directed that March 28
 text be sent, or in any way aided, counsel, commanded, induced or procured the sending of the text, or engaged in a
 conspiracy to commit extortion of any sort or indeed any crime, even if he had so engaged Mr. Nerayoff had a claim
 of right and any threats to institute litigation to pursue that claim are not lawful as a matter of firmly established
 precedence. United States v. Jackson, 180 F.3d 55 (2d Cir. 1999); United States v. Clemente, 640 F. 1069 (2d Cir.
 1981); United States v. Burhoe, 871 F.3d 1 (1st Cir. 2017); United States v. Orlando, 819 F.3d 1016 (7th Cir. 2016);
 United States v. Sturm, 870 F.2d 769 (1st Cir. 1989). Similarly given the overwhelming evidence of Mr. Nerayoff’s
 claim of right, it is clear that there could be no conspiracy as it the law is clear that “the essence of a conspiracy is "an
 agreement to commit an unlawful act." United States v. Jimenez Recio, 537 U.S. 270, 274 (2003). The evidence
 submitted in support of this motion clearly establishes that Mr. Nerayoff’s only goal in his dealings with Company 1
 was to engage in lawful commerce and not be cheated by Company 1, John Doe and Jane Doe. This is the case
 notwithstanding Hlady’s plea allocution in which he averred that Mr. Nerayoff did not have a claim of right and
 engaged in a conspiracy to extort money from Company 1, John Doe and Jane Doe. Of course, Hlady’s plea allocution
 which has no evidentiary value and is inadmissible for any purpose at a trial is also clearly contrary to what actually
 occurred. While we can speculate as to why Hlady so pleaded, whatever his motive the simple fact that he admitted
 to a crime which he could not have legally committed does not change the facts that Mr. Nerayoff has established that
 the indictment against him rests on material falsehoods and perjured testimony.


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           As displayed in the attached Declaration and supporting exhibits, the undisputed

 documentary and video evidence submitted in support of this motion clearly establishes that Mr.

 Nerayoff’s business dealings with John Doe, Jane Doe and Company 1 were entirely lawful and

 indeed cordial and that the parties spent considerable time together socializing and attempting to

 advance the affairs of Company 1 and that government was aware these facts since at least

 February of 2019.

           Thus the evidence presented to the grand jury that Mr. Nerayoff extorted or conspired to

 extort anything from Jane Doe, John Doe and Company 1, is obviously false and perjurious – it

 doesn’t matters whether John Doe or Jane Doe testified falsely to the grand jury or if their false

 accounts were recounted to government officials who relayed the false testimony to the Grand Jury

 – the testimony upon which this indictment rests is based upon a false, perjurious narrative which

 went to the very nature of Mr. Nerayoff’s lawful business activity with the so called victims,

 falsehoods which the government knew, or at minimum should have known, were in fact false. 3

                                                   ARGUMENT

                                                       POINT I

     THE INDICTMENT SHOULD BE DISMISSED WITH PREJUDICE AS IT RESTS ON
     MATERIALLY FALSE TESTIMONY REGARDING MR. NERAYOFF’S DEALINGS
     WITH COMPANY 1, JANE DOE AND JOHN DOE AND THUS VIOLATES THE DUE
        PROCESS AND GRAND JURY CLAUSES OF THE FIFTH AMENDEMENT
         Almost fifty years ago, the Supreme Court stated, “[t]he institution of the grand jury is

 deeply rooted in Anglo-American history. In England, the grand jury served for centuries both as

 a body of accusers sworn to discover and present for trial persons suspected of criminal



 3
  If either of the alleged victims falsely provided this information to Agent Anderson, they would be guilty of providing
 false statements in violation of 18 U.S.C. § 1001. Whomever testified in the grand jury knowing that the statements
 were materially false would be guilty of perjury under 18 U.S.C. § 1621, as would Agent Anderson if he knowingly
 swore to the truth of the statements contained in the complaint.


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 wrongdoing and as a protector of citizens against arbitrary and oppressive governmental action. In

 this country the Founders thought the grand jury so essential to basic liberties that they provided

 in the Fifth Amendment that federal prosecution for serious crimes can only be instituted by ‘a

 presentment or indictment of a Grand Jury.’" United States v. Calandra, 414 U.S. 338, 342-343

 (1974). As such, even though a facially valid indictment is not subject to independent inquiry into

 the adequacy and competency of the evidence upon which it is based, due process nevertheless

 imposes certain restrictions on the type of evidence that a grand jury may properly act upon. One

 such restriction is if the evidence before the grand jury was materially false.

        While concededly, Mr. Nerayoff is not privy to what evidence the grand jury received,

 there is a wealth of information regarding the government’s theory of the case, the allegations

 contained in both the Complaint and Indictment, which serve as a road map to the prosecution’s

 case and the evidence that the grand jury must have received in order to return the indictment that

 Mr. Nerayoff obtained and conspired to obtain property via extortion. Here, the road map laid out

 by the government leads to the inescapable conclusion that each of the counts of the indictment

 rest on false and perjured testimony as the indisputable facts are:

            i) there was no extortion or conspiracy to extort the alleged victims;

            ii) in order for the grand jury to return an indictment charging extortion and
            extortion conspiracy it needed to receive evidence that the victims were
            extorted and the existence of a conspiracy to extort; and

            iii) the grand jury returned an extortion conspiracy and extortion indictment.

        The evidence in support of this motion establishes that here, the indisputable evidence

 shows that the entirety of Mr. Nerayoff’s dealings with Company 1 and its executives, Jane Doe

 and John Doe, were entirely lawful and that the government knew as much at least as early as

 February 2019, almost a year before they obtained the indictment against Mr. Nerayoff.



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 Consequently, if in order to obtain an indictment the government was required to submit evidence

 that Mr. Nerayoff’s dealings were in fact unlawful, testimony that Mr. Nerayoff extorted anyone

 is indisputably and objectively false and a review of the minutes relating to those falsehoods will

 directly support Mr. Nerayoff’s motion to dismiss. The falsehoods at issue here did not amount to

 a difference between shades of gray – they go to the core of the government’s case – and they are

 material to every count in the Indictment.

        In United States v. Basurto, 497 F.2d 781 (9th Cir. 1974), the 9th Circuit held that “the Due

 Process Clause of the Fifth Amendment is violated when a defendant has to stand trial on an

 indictment which the government knows is based partially on perjured testimony, when the

 perjured testimony is material.” Id. at 785-786. In Basurto, the 9th Circuit further ruled that in

 such a case, “the prosecutor [should] return to the grand jury and seek a new indictment untainted

 by the perjury.” Ibid. In reaching this conclusion, the 9th Circuit noted permitting an accused “to

 stand trial when the prosecutors knew of the perjury before the grand jury only allowed the cancer

 to grow.” Id. at 785.

        While the only reported case in this Circuit to dismiss an indictment based on the Basurto

 doctrine is United States v. Goldman, 451 F.Supp.518 (SDNY 1978, Duffy, J.), there the court

 looked to United States v. Guillette, 547 F.2d 743 (2nd Cir. 1976) as well as the Ninth Circuit’s

 ruling Basurto to reach that decision. In Guillette the 2nd Circuit noted that while an indictment

 returned by a legally constituted and unbiased grand jury is generally not subject to attack on the

 ground that it is based on inadequate or incompetent evidence, the 2nd Circuit also acknowledged,

 that “[t]he government, however, is subject to certain restrictions on its relationship with the grand

 jury and the type of evidence it may present to obtain an indictment.” Id. at 752. The Second

 Circuit explained further that:



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            For example, where the government knows that perjured testimony has been
            given to the grand jury and that this testimony is material to the grand jury's
            deliberations, due process requires that the prosecutor take such steps as are
            necessary to correct any possible injustice. United States v. Basurto, supra.
            Where jeopardy has not yet attached, it generally is proper for the prosecutor
            to return to the grand jury and seek a new indictment untainted by the
            perjury.

 Id. at 752-753. In United States v. Torres, 901 F.2d 205 (2nd Cir. 1990) the 2nd Circuit, while

 ultimately declining to dismiss the indictment on the record before it, also referenced the 9th

 Circuit’s holding in Basurto explaining, “[g]iven the absence of any claims of prosecutorial

 misconduct or perjury with respect to the grand jury proceedings, there is simply no basis to

 consider applying Basurto here.” Id. at 233. There is no reason to believe that the 2nd Circuit

 would not apply the Basurto standard to an appropriate case, particularly since in the context of

 42 U.S.C. § 1983 actions, the 2nd Circuit has held that “notwithstanding the legally permissible

 one-sided nature of grand jury proceedings, everyone possesses the additional and distinct right

 not to be deprived of liberty as a result of the fabrication of evidence by a government officer

 acting in an investigative capacity.” Morse v. Fusto, 804 F.3d 538, 547 (2nd Cir. 2015), quoting

 Zahrey v Coffey, 221 F.3d 342, 349 (2nd Cir 2000).

        In Daniel v. Williams, 474 U.S. 327, 331 (1986), the Supreme Court reminded us that

 “…the Due Process Clause, like its forebear the Magna Carta…was intended to secure the

 individual from the arbitrary exercise of the power of the government”(internal citations and

 quotations omitted). In the Criminal Justice setting one cannot envision many more arbitrary

 exercises of government power than taking a person to trial on an indictment that the government

 knows was based entirely on false and perjurious testimony. Id. at 331. Indeed, in Giglio v. United

 States, 405 US 150 (1972) the Supreme Court also wrote “deliberate deception of a court and

 jurors by the presentation of known false evidence is incompatible with rudimentary demands of



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 justice.” Id. at 153 (internal quotation and citations omitted).

        For all these reasons, Mr. Nerayoff respectfully asks the Court to dismiss the Indictment

 against Mr. Nerayoff, with prejudice, as it is uncontroverted that prior to obtaining the Indictment

 the government had extensive evidence in its possession that Mr. Nerayoff was entitled to billions

 of Company 1’s tokens based on the freely negotiated November 7, 2017 agreement which the

 parties mutually entered into based on documents in the government’s possession as early as

 February of 2019 – seven months before the arrest warrant was obtained in this case and eleven

 months before obtaining the instant indictment.

        Justice Scalia’s majority opinion in United States v. Williams, 504 U.S. 36 (1992), which

 held that a court cannot require the prosecution to present exculpatory evidence to the grand jury

 does not require a different result. Here, the error was not merely the failure to present exculpatory

 material to the grand jury, it was the submission of false and perjurious testimony to the grand

 jury. Two years prior to his opinion in Williams, Justice Scalia’s concurrence in Bank of Nova

 Scotia v. United States, 487 U.S. 250, 264 (1988) noted, “I agree that every United States court

 has an inherent supervisory authority over the proceedings conducted before it, which assuredly

 includes the power to decline to proceed on the basis of an indictment obtained in violation of the

 law…” Id. at 264. Mr. Nerayoff respectfully submits that prosecution by an indictment based

 solely on perjurious testimony is a fundamental violation of both his due process and grand jury

 rights contained in the Fifth Amendment and is repugnant to the values espoused in the

 Constitution.

        “While it may be true that "a grand jury might indict a ham sandwich" if asked to do so by

 a prosecutor,” (see United States v. Laurent, 861 F.Supp.2d 71, 89 (E.D.N.Y. 2011), the

 Constitution doesn’t require us to eat one made with tainted meat.



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                                                POINT II

     PURSUANT TO FED. R. CRIM. P. 6(e)(3)(E)(ii) THE COURT SHOULD ORDER
       DISCLOSURE OF THOSE PORTIONS OF THE GRAND JURY MINUTES
     NECESSARY TO THE RESOLUTION OF DEFENDANT’S MOTION OR IN THE
             ALTERNATIVE CONDUCT AN IN CAMERA REVIEW

         Although Mr. Nerayoff believes that he has sufficiently established that the evidence before

 the Grand Jury was perjurious and that the government knew, or should have known this fact, and

 that the Court should dismiss the Indictment on that basis, if the Court does not so find, Defendant

 requests that the Court order disclosure of those portions of the Grand Jury minutes which relate

 to the false and perjurious testimony that Mr. Nerayoff believes must have been introduced in order

 for the Grand Jury to return the Indictment and provide him an opportunity to renew and

 supplement the motion to dismiss.

         In particular, Federal Rule of Criminal Procedure 6(e)(3)(E)(ii) provides that a court may

 authorize disclosure of a grand jury matter "at the request of a defendant who shows that a ground

 may exist to dismiss the indictment because of a matter that occurred before the grand jury." The

 Supreme Court has ruled that a defendant seeking disclosure of grand jury materials must show

 that the material it seeks “is need to avoid a possible injustice, that the need for disclosure is greater

 than the need for continued secrecy, and that his or her request is structured to cover only material

 so needed.” Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 222 (1979). While to be

 sure, Defendant Nerayoff "must satisfy a heavy burden of showing that 'compelling necessity'

 outweighs countervailing public policy in order to disturb the presumption of the 'indispensable

 secrecy of grand jury proceedings,'" (United States v. Procter & Gamble Co., 356 U.S. 677, 682

 (1958)), and acknowledges that a “presumption of regularity attaches to grand jury proceedings,"

 (United States v. Leung, 40 F.3d 577, 581 (2d Cir. 1994)), and specific factual allegations are

 required to permit a review of grand jury proceedings, Id. at 582, we believe that the facts in this

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 case, the extensive proof of perjury, more than met those burdens.

        Specifically, in this case, there is indisputable evidence that Mr. Nerayoff’s dealings with

 Company 1 and its executives were entirely lawful and that the government knew as much at least

 as early as February 2019 – almost a year before they obtained the indictment against Mr. Nerayoff.

 It is self-evident that in order to obtain an indictment for extortion, the government was required

 to submit evidence showing that Mr. Nerayoff’s dealings were in fact unlawful. However, the

 uncontroverted evidence establishes that any testimony that Mr. Nerayoff extorted anyone is

 indisputably and objectively false and a review of the minutes relating to those falsehoods will

 directly support Mr. Nerayoff’s motion to dismiss.

        Although “[t]he Supreme Court has enumerated the following reasons for grand jury

 secrecy (1) to prevent the escape of those whose indictment may be contemplated; (2) to insure

 the utmost freedom to the grand jury in its deliberations, and to prevent persons subject to

 indictment or their friends from importuning the grand jurors; (3) to prevent subordination of

 perjury or tampering with the witnesses who may testify before the grand jury and later appear at

 trial of those indicted by it; (4) to encourage free and untrammeled disclosures by persons who

 have information with respect to the commission of crimes; (5) to prevent innocent accused who

 is exonerated from disclosure of the fact that he was under investigation, and from the expense of

 standing trial where there was no probability of guilt.” Anilao v. Spota, 981. F.Supp.2d 157, 172

 (E.D.N.Y.), citing United States v. Procter & Gamble Co, 356 U.S. 677, 681, n6 (1958). None of

 the factors enumerated by the Supreme Court militate against disclosure. Indeed, disclosure will

 prevent an innocent accused from the having to standing trial where there is no probability of guilt.




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                                                     POINT III


  THE COURT SHOULD ORDER THE GOVERNMENT TO PROVIDE INFORMATION
   DEFENDANT HAS REQUESTED UNDER RULE 16 AND THIS COURT’S RULE 5(f)
   ORDER AS THE INFORMATION SOUGHT IS MATERIAL TO THE DEFENSE OF
           THIS ACTION AND THE RESOLUTION OF THIS MOTION

         Although Defendant Nerayoff believes that he has sufficiently established that the evidence

 before the Grand Jury was false and perjurious and that this Court should dismiss the indictment

 on that basis, if the Court does not so find, Mr. Nerayoff respectfully requests that the Court order

 the government to provide certain information previously requested by his counsel which we

 believe is material to the defense of this action and an opportunity to renew and supplement the

 motion to dismiss based upon a review of that material.

         As displayed in the attached Declaration, during the investigation of Defendant Nerayoff,

 Michael Hlady, Mr. Nerayoff’s alleged co-conspirator had extensive contacts 4 with the FBI

 Special Agent Jordan Anderson, the agent who was investigating Mr. Nerayoff, swore out an arrest

 warrant and was the case agent who assisted AUSA Mark Bini in the prosecution of Mr. Nerayoff.

 Significantly, Hlady also provided information on Mr. Nerayoff’s activities investing in crypto

 markets with Jonathan Lucas, a subject of a Department of Justice, SEC and FBI investigation that

 both S/A Anderson and AUSA Bini were involved in, and likely reported on Mr. Nerayoff’s

 activities in the State of Rhode Island involving the crypto industry. 5



 4
   As noted in the Declaration, for the period 1/31/2018 through February 2019 Hlady and S/A Anderson texted 100
 times, and Hlady used his cell phone to call or receive calls from S/A Anderson’s cell phone, his direct line and the
 main line at the NYI FBI offices on 45 occasions.
 5
   See, Declaration at 43: Hlady messaging with S/A Anderson during Mr. Nerayoff’s February 27, 2018 interview at
 the same time Hlady was messaging Mr. Nerayoff to remind him that he had to leave to drive to Rhode Island to meet
 with John Harwood an attorney who previously served as Speaker of the Rhode Island House and who was
 coordinating Mr. Nerayoff’s planned overtures to Rhode Island Governor Gina Raimondo and Sen. Sheldon
 Whitehouse to make Rhode Island the Crypto Capital.


                                                          12
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          While we submit that that the sheer volume of contacts alone – a total of 100 text messages

 and 45 calls back and forth between Hlady and Anderson – supports our belief that Hlady was

 in fact acting as an informant for S/A Anderson and AUSA Bini (Decl. at ¶¶ 37-46 and nt. 3), the

 events surrounding the contacts between Hlady, S/A Anderson, and Jane Doe and the pattern of

 calls between Hlady, S/A Anderson, and Jane Doe all detailed in the Declaration at ¶¶ 79-101

 support our belief that the May 18 hotel recording as well as the recordings made by the Seattle

 Office of the FBI in June and November of 2018, were used by Hlady and Jane Doe to falsely

 implicate Mr. Nerayoff in criminal conduct that Mr. Nerayoff had not participated in.

          What other logical explanation can there be for Hlady’s contact with Jane Doe and S/A

 Anderson prior to these supposedly secret recordings and other significant events described in the

 Declaration? Hlady’s empathic admissions of threatening conduct in the May 18, 2018 recording 6,

 the June 21, 2018 recordings where Hlady and Jane Doe reinforced the “destroy” narrative and the

 false Ether loan “extortion” lie, including Company 1’s demand that Nerayoff pay usurious interest

 of 180% on the ‘loan,’ 7 and the November 21, 2018 recording in which Hlady interjected an

 element of violence by gratuitously reporting that one of his nonexistent teammates had been shot

 and killed. 8


 6
   The May 18, 2018 hotel room recording and the Jane Doe telephone recording on November 21, 2018 appear to be
 attempts to falsely accuse Mr. Nerayoff hoping that he would not deny each and every allegation against him so that
 his silence might be deemed an admission. See, Salinas v. Texas, 570 U.S. 178 (2013). (Prosecution's use of accused's
 silence proper when, without being in custody or receiving Miranda warnings, asked about crime). Indeed, according
 to prior counsel, one of the former prosecutors assigned to this case put great weight on the fact that in the May 18,
 2018 recording that Nerayoff only denied the fact that he had threatened Jane Doe and John Doe three times, he was
 silent when they accused him a fourth time – ironic in that every time Mr. Nerayoff tried to explain himself – and thus
 present a prior consistent statement of his innocence which might be used to defeat a later claim of recent fabrication
 under F.R.E. 801(d)(1)(B)(i), Jane Doe repeatedly told him to “stop speaking.”
 7
   Putting aside the simple fact that the 10,000 Ether Mr. Nerayoff received was not obtained via extortion, this would
 likely be the first time in the history of American jurisprudence that someone had extorted a loan against property due
 them that the lender would not release upon a condition that the money extorted be repaid at an annual 180% interest.
 8
  This element of violence was not only interjected into the call, it was also recounted in Agent Anderson’s complaint
 which cast Hlady as Mr. Nerayoff’s enforcer perhaps because obtaining property via threat of violence is entirely

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             We also know that although Mr. Nerayoff alerted S/A Anderson and AUSA Bini to the

 fact that he had been conned by Michael Hlady and had his COO sent a detailed dossier concerning

 Hlady’s fraud to S/A Anderson – a dossier that included the fact that Hlady had through his con

 insinuated himself into business dealings with the Governor of Rhode Island and its senior United

 State Senator – neither S/A Anderson nor AUSA Bini would speak to Mr. Nerayoff and Hlady

 was never charged for the fraud he had perpetrated against Mr. Nerayoff and two senior elected

 officials, clearly conduct which we believe supports the inference of the government protecting an

 informant who was their source in a wider Crypto investigation involving Rhode Island’s stated

 desire to be the nation’s first Crypto friendly state. 9

            While this information certainly would be sufficient to raise the very strong inference that

 Hlady was S/A Anderson’s informant (See e.g., United States v. Flores, 888 F.3d 537, 545 (D.C.

 Cir. 2018); Hussain v. Obama, 718 F.3d 964 (D.C. Cir. 2013); Dole v. Williams Enterprises, Inc,

 876 F.2d 186, 188, n.2 (D.C. Cir. 1989) (“WHEREAS it looks like a duck, and WHEREAS it

 walks like a duck, and WHEREAS it quacks like a duck, WE THEREFORE HOLD that it is a

 duck”).

            According to the Department of Justice’s own guidelines for the use of confidential

 informants, a confidential informant is defined as “any individual who provides useful and credible

 information to a JLEA [Department of Justice Law Enforcement Agency] regarding felonious



 illegal even if an individual has a claim of right. One of the great ironies of this prosecution is the government’s
 casting Hlady as a violent individual whom Mr. Nerayoff had knowingly hired to extort Company 1 while Mr.
 Nerayoff had retained “Michael Peters’” services because Mr. Nerayoff had been conned into believing “Peters” was
 a former decorated government agent, not a killer. Of course, by November 21, 2018, Hlady – who had told Jane Doe
 in a June 2018 recording that he was leaving Alchemist – had already been exposed as a fraudster as Mr. Nerayoff
 (and presumably the FBI who was in the room with Jane Doe and recording the call), had already called Jane Doe to
 alert her to this fact. So, at the time of this “admission” by Hlady, everyone affiliated with the case, including Jane
 Doe, the FBI and the AUSA, knew that he was a complete fraud.
 9
     https://www.golocalprov.com/business/governor-raimondo-pitches-top-blockchain-executives-on-benefits-of-ri


                                                           14
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 criminal activities, and from whom the JLEA expects or intends to obtain additional useful and

 credible information regarding such activities in the future 10

         Our belief has only been further reinforced by a recent disclosure made by one of the

 prosecutors assigned to this case. On Friday, February 10, 2023, in a telephone call with Mr.

 Nerayoff’s counsel, he revealed that the government did not have any of the 100 texts or any other

 information relating to Hlady’s contacts with S/A Anderson. However, when asked to confirm

 that information in an email, he replied the next day “we’re not going to confirm whether any such

 emails of texts exist given that any request for such information far exceeds the government’s Rule

 16 obligations.” Notwithstanding this extensive conduct and the FBI’s protocols regarding

 preservation of text messages, that include requiring individual employees to take steps to ensure

 preservation of such electronic communications relating to a criminal or civil investigation, 11” the

 government after first advising orally that there were no texts or emails between Hlady and S/A

 Anderson in its possession wrote “we’re not going to confirm whether any such emails or texts

 exist given that any request for such information far exceeds the government’s Rule 16

 obligations.”

         Is it even plausible that the 100 known text messages that Hlady and S/A Anderson engaged

 in did not relate to a criminal or civil investigation that S/A Anderson was engaged in? It is not.

 Likewise, is it plausible that S/A Anderson didn’t make a single record of any of these 100 contacts

 and 45 phone calls in reports or notes of any kind? 12 It is not.


 10
    Department of Justice Guidelines Regarding the Use of Confidential Informants, January 8, 2001 at p. 127. At
 https://www.aclu.org/other/department-justice-guidelines-regarding-use-confidential-informants).

 11
    See, Office of the Inspector General U.S. Department of Justice Report of Investigation of Text Messages from
 Certain FBI Mobile Devices (redacted) https://oig.justice.gov/reports/2018/i-2018-003523.pdf at pp. 2,
 12
   The apparent failure to preserve these 100 text messages and to document the contact between Hlady and S/A
 Anderson in those messages and their 45 telephone calls is reminiscent of the 1960s TV Series Mission impossible

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          Of course, although we believe Hlady is an informant, as he looks and acts like one, (see

 e.g., Dole v. Williams Enterprises, Inc, 876 F.2d 186, 188, n.2 (D.C. Cir. 1989) (“WHEREAS it

 looks like a duck, and WHEREAS it walks like a duck, and WHEREAS it quacks like a duck, WE

 THEREFORE HOLD that it is a duck”), we appreciate that what appears to be a duck is sometimes

 not in fact a duck. At this point, we are not asking the Court to declare Hlady an informant, we

 are simply asking the Court to require the government to provide the requested information that

 will establish if Hlady is in fact an informant. 13

          Like all the information requested in the two letter requests, we believe these texts are

 crucial to Mr. Nerayoff’s defense of this action and indeed this very motion and are thus

 discoverable under the facts presented, Brady v. Maryland, 373 U.S. 83 (1963) and its progeny,

 Federal Rule of Criminal Procedure 16 and/or this Court’s December 10, 2020, Rule 5(f) Order.

          Accordingly, Mr. Nerayoff respectfully requests that the Court order the government to

 provide the items he requested, as indicated below, for the following reasons which we believe are

 based on objective facts and inferences that naturally flow from them:

     1. Notes and reports of any statements made, or information provided by Michael Hlady to
        any employee of the Federal Government or its agent (including but not limited to FBI,
        DOJ, SEC, FINRA)

          As displayed in the accompanying Declaration and argued above, we believe that Michael

 Hlady who the government cast as Mr. Nerayoff’s co-conspirator was actually a government




 where each episode’s introductory scene ended with IMF lead agent Jim Phelps receiving a mission assignment
 recording that self-destructed after it played: “As always, should you or any of your IM Force be caught or killed, the
 Secretary will disavow any knowledge of your actions.” Only in this case, this is not fiction, it is an actual criminal
 investigation and prosecution of an innocent man.
 13
    If Hlady was in fact S/A Anderson’s informant, there could be no conspiracy, as an individual cannot conspire with
 an informant. United States v. Hendrickson, 26 F.3d 321, 333 (2d Cir. 1994). If Hlady was a government agent, his
 sending the March 28, 2018 text either on his own initiative, or at the direction of the government, would not, even if
 it was criminal, result in Mr. Nerayoff being criminally liable under any possible legal theory.


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 informant whose conduct was likely directed by the government. Even assuming arguendo that

 Mr. Nerayoff’s dealings with Company 1, John Doe and Jane Doe were of a criminal nature –

 which clearly they were not – there could be no conspiracy if Hlady was a government informer.

 United States v. Hendrickson, 26 F.3d 321, 333 (2d Cir. 1994).

        Further, the text that Hlady sent on March 28, 2018, which Hlady claims was at Mr.

 Nerayoff’s direction, not only was non-sensical as Hlady admittedly knew nothing about

 Nerayoff’s prior dealings with Company 1, Jane Doe and John Doe, it contained language which

 we believe was crafted to allow the government to get around Nerayoff’s claim of right defense as

 threats of violence are never permissible even when one has a claim of right. If Hlady was a

 government agent the only “crime” committed in that text message would have been the creation

 of a crime to implicate Nerayoff.

    2. Documents provided to any employee of the Federal Government or its agent (including
       but not limited to FBI, DOJ, SEC, FINRA) by Hlady concerning Steven Nerayoff or
       Alchemist

        Mr. Nerayoff submits that these documents are also material to the defense of this action

 and this very motion for the same reasons that support for request 1.

    3. Emails and text messages between Michael Hlady and FBI Agent Jordan Anderson or any
       other government agent

        Mr. Nerayoff submits that these documents are also material to the defense of this action

 and this very motion for the same reasons that support request 1.

    4. Recordings made by Michael Hlady of Steven Nerayoff, [Jane Doe] or [John Doe]

         Mr. Nerayoff submits that these documents are also material to the defense of this action

 and this very motion for the same reasons that support request 1.

    5. Emails and text messages between Michael Hlady and [Jane Doe], [John Doe] or Jeff
       Pulver



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        Mr. Nerayoff submits that these documents are also material to the defense of this action

 and this very motion for the same reasons that support request 1. Further, evidence of Jane Doe’s

 and John Doe’s colluding with Hlady both to engage in other criminal activity and to falsely

 incriminate Mr. Nerayoff would it make it more likely that Hlady was acting not on Mr. Nerayoff’s

 behalf but for Hlady’s own benefit, which is relevant to the conspiracy charges.

    6. To the extent that the FBI has created or maintained any file concerning Hlady and his
       status as an informant, information source or cooperator, such file would be relevant
       considering his charged status as a co-conspirator.

        Mr. Nerayoff submits that these documents are also material to the defense of this action

 and this very motion for the same reasons that support request 1.

    7. We also request an opportunity to examine any cell phone or personal computer, laptop,
       tablet or any other device in the possession of the government to search for the items sought
       in paragraphs 1-7.

        The government has informed us that they intend to search a device belonging to Mr. Hlady

 to determine if any material on that device should be provided to Mr. Nerayoff. Although we

 surely would have preferred that the government conduct that search shortly after we raised the

 issue of Hlady’s extensive contacts with S/A Anderson in June, we commend the government for

 their efforts in this regard and as such we will await the government’s response before asking the

 Court to take any action.

    8. Any reports or notes by members of the Federal Government regarding the arrest of Steven
       Nerayoff on September 19, 2019 and a copy of the warrant to search Mr. Nerayoff’s home
       on that date

        Given Mr. Nerayoff’s detailed allegations regarding S/A Anderson’s conduct on the day

 of his arrest, allegations which support the inference that this prosecution was motivated not by

 the evidence that the government had but rather as a means of gaining entrée into the crypto world.

 Indeed, it is somewhat puzzling that the government has taken the position that Mr. Nerayoff is



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 not entitled to any report generated as a result of his arrest as the government provided Mr.

 Nerayoff with a 302 report relating to Hlady’s arrest in discovery (DOJ-000006049).


     9. A copy of the subpoena that Mr. Nerayoff received on February 27, 2018 pertaining to a
        purported investigation of Jonathan Lucas

          As noted in the Declaration in support of this motion, Mr. Nerayoff received a Grand Jury

 subpoena from AUSA Bini in the Eastern District of New York. That subpoena sought information

 regarding Mr. Nerayoff’s dealings with Jonathan Lucas who was under investigation for alleged

 criminal securities violations by AUSA Bini. Lucas at one point sent Nerayoff as voice message

 which appears to have been an invitation to obstruct justice in connection to the EDNY inquiry

 (Nerayoff did not reply to the message). We believe that the Grand Jury subpoena issued by AUSA

 Bini was part of the government’s effort to use both Lucas and Hlady in their attempts to fabricate

 a case against Mr. Nerayoff. 14 The government’s refusal to provide a copy of this subpoena is

 curious as there is no dispute that Nerayoff received the subpoena from AUSA Bini.

     10. A copy of any notes and reports relating to Mark Bartlett, Esq contact with the NYC FBI
         office in September of 2018 relating to [Company 1], Nerayoff, Hlady, [Jane Doe] or [John
         Doe].

          As noted in the Declaration in support of this motion, Company 1 hired a criminal defense

 attorney in May of 2018 who then proceeded to bill Company 1 for matters related to Company 1

 and Nerayoff’s company Alchemist (¶ 66 and nt. 85). On September 30, 2018, that attorney billed

 Company 1 for a Meeting with the NYC FBI. That meeting, was held just days after a pregnant

 Jane Doe was just fired by Company 1, had telephoned S/A Anderson on the day she was fired.




 14
    In addition to the odd, apparent, invitation to obstruct justice voice message that Lucas left Nerayoff we also know
 that Lucas, who had been under criminal investigation, was allowed to enter a civil settlement with the SEC in
 connection with a civil complaint that was filed and settled on the same day, perhaps not coincidentally the day after
 Mr. Nerayoff was arrested in September of 2019, not in the Eastern District of New York where he was being
 investigated, but in the Southern District of New York (Decl. at ¶147 ).

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 Afterwards, Jane Doe hired her own criminal defense attorney. As also noted in the Declaration,

 it appears that Jane Doe and Michael Hlady continued to have a distinct relationship separate and

 apart from their relationships with Mr. Nerayoff. While we do not know for sure if Jane Doe was

 fired for conspiring in some way with Hlady – as John Doe refused to speak to counsel for Mr.

 Nerayoff – we do know, from government provided discovery, that Hlady travelled to Seattle on

 several occasions, more occasions in fact than we have reports from the government of recorded

 calls. We believe that any notes and reports regarding Company 1’s transmission of information

 to the FBI regarding Jane Doe’s conduct with Hlady would strongly support our belief, that Hlady

 and Jane Doe were acting together to create a false narrative against Mr. Nerayoff and thus are

 necessary to not only the defense of this action but to the instant motion. Again, if Hlady and Jane

 Doe were in fact colluding, to engage in other criminal activity and to falsely incriminate Mr.

 Nerayoff, evidence of this would make it more likely that Hlady was acting not on Mr. Nerayoff’s

 behalf but for Hlady’s own benefit, which is relevant to the conspiracy charges.

    11. To inspect and to copy, photograph, etc. any of Mr. Nerayoff’s papers, documents, data,
        photographs, tangible objects, in the government's possession, custody, or control obtained
        from Mr. Nerayoff or previously under his control—including but not limited to the digital
        information the Government received from Apple Inc. that resided on Mr. Nerayoff’s Apple
        i-cloud backup. We would also request an inventory of these items.

         While the government did not respond specifically to this request in its February 11, 2023

 email, during my February 10, 2023 telephone call with AUSA Enright I asked if the government

 had anything of Mr. Nerayoff in its possession that was subject to this demand and in particular if

 the government obtained the three Skype Business Meeting videos pursuant to the FBI’s March 2,

 2019 subpoena to Apple Inc. AUSA Enright did not directly respond to the question but noted

 that the government can only obtain content from search warrants and not subpoenas. We do not

 believe that the issuance of a subpoena, rather than a search warrant, would necessarily restrict the



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 government’s ability to obtain non-content as according to the Justice Department’s Computer

 Crime manual, agents can obtain opened and sent email (and other stored electronic or wire

 communications in “electronic storage” more than 180 days) and retrieved communications and

 the content of other stored files using a mere subpoena, provided they comply with applicable

 Stored Communication Act notice provisions—which includes delaying prior notification to the

 customer or subscriber for ninety day periods based upon a supervisory official’s written

 certification that the existence of the subpoena may have an adverse effect 15—which is what the

 FBI apparently did when they served Apple with a subpoena and Apple delayed notifying Mr.

 Nerayoff until months later.

          As noted in the Declaration, the government seized Mr. Nerayoff’s iPhone on the day of

 his arrest and attempted to get him to unlock it so to examine its contents, which would have given

 them access to his iCloud backup directly from the iPhone. While we do not know if they were

 successful in their attempts to obtain anything from the subpoena sent to Apple or the iPhone that

 the FBI seized from Mr. Nerayoff, we do know that Rule 16 provides that the government must

 allow us an opportunity to inspect and to copy any document, video, or item of any sort of Mr.

 Nerayoff’s that is in the government’s possession pursuant to Fed. Rule Crim. Pro. 16(E)(i) and

 (iii).

          We submit that each of the requested items that we seek the Court’s intervention are

 narrowly tailored and material to the Motion to Dismiss, Defendant Nerayoff’s defense, both on

 the issue of his actual innocence in his dealings with Company 1, and as to Hlady’s activities with




 15
   Searching and Seizing Computers and Obtaining Electronic Evidence in Criminal Investigations--Computer Crime
 and Intellectual Property Section Criminal Division: https://www.justice.gov/file/442111/download at pp. 129-130,
 138

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 both the government and Jane Doe and request that the Court order the government to produce

 responsive material without undue delay.

                                          CONCLUSION

        For the foregoing reasons, Mr. Nerayoff respectfully requests that the indictment be

 dismissed against him with prejudice, or in the alternative that the Court order relevant portions of

 the Grand Jury proceeding released to Mr. Nerayoff and compel the Government to provide

 information responsive to Mr. Nerayoff’s two outstanding demands and to renew and supplement

 the motion to dismiss with this information.

 Dated: February 13, 2023


                                                       Respectfully Submitted,


                                                       /s/ Michael A. Scotto
                                                       Michael A. Scotto
                                                       1225 Franklin Ave, Suite 325
                                                       Garden City, NY 11530
                                                       (516) 506-2302
                                                       mascottoesq@gmail.com

                                                       Attorney for Defendant, Steven Nerayoff




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